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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NOTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION



 UNITED STATES OF AMERICA,

                     Plaintiff,

                      v.
                                                            Civil Action No.
 THE STATE OF GEORGIA; THE
 GEORGIA STATE ELECTION
                                                          1:21-CV-2575-JPB
 BOARD; and BRAD
 RAFFENSPERGER, in his official
 capacity as Georgia Secretary of State,

                     Defendants.




RESPONSE IN OPPOSITION BY THE UNITED STATES TO MOTION TO
     INTERVENE BY PUBLIC INTEREST LAW FOUNDATION

      The United States respectfully submits the following response in opposition

to the Motion to Intervene filed by Public Interest Legal Foundation (“PILF”)

(ECF No. 11). PILF is not entitled to intervention as of right under Rule 24(a)(2)

because it has failed to establish that it has a protectable interest that would be

impeded or impaired by this action, and because, even if it had such an interest, it
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has failed to show that the existing defendants would not adequately represent that

interest. In addition, because PILF seeks to pursue issues that are collateral to this

litigation, permitting its intervention would needlessly complicate discovery and

delay resolution of this case, and thus permissive intervention under Rule 24(b) is

inappropriate as well. Thus, the United States respectfully asks that the Court deny

the motion to intervene, both as of right under Rule 24(a)(2) or permissively under

Rule 24(b), as courts have done in similar cases where advocacy groups have

moved to intervene as defendants. See, e.g., Veasey v. Perry, 577 F. App’x 261

(5th Cir. 2014) (affirming district court’s order denying motion to intervene in case

challenging Texas’s photo voter ID law under Section 2 of the Voting Rights Act);

United States v. North Carolina, No. 1:13-cv-861, 2014 WL 494911 (M.D.N.C.

Feb. 6, 2014) (denying motion to intervene in case challenging provisions of North

Carolina’s omnibus election bill under Section 2 of the Voting Rights Act); United

States v. Florida, No. 4:12-cv-285, 2012 WL 13034013 (N.D. Fla. Nov. 6, 2012)

(denying motions to intervene in case under National Voter Registration Act

challenging Florida’s systematic removal of voters from its registration list).

I.    STATEMENT OF FACTS

      On June 25, 2021, the United States brought this action against the State of

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Georgia, the Georgia State Election Board, and the Georgia Secretary of State

(collectively “State Defendants”), alleging that certain provisions of Georgia

Senate Bill 202 (2021) (“SB 202”) violate Section 2 of the Voting Rights Act, 52

U.S.C. § 10301. These provisions include (a) a ban on governmental entities

distributing unsolicited absentee ballot applications (SB 202 § 25); (b) onerous

fines on civic organizations that distribute duplicate or follow-up absentee ballot

request forms to voters (§ 25); (c) a requirement that voters who do not have

identification issued by the Georgia Department of Driver Services photocopy

another form of identification in order to request an absentee ballot (§ 25); (d) a

reduction in the period of time during which registrants can request absentee

ballots (§ 25); (e) a reduction in the number of absentee ballot drop boxes, as well

as the days and hours during which voters may use the drop boxes (§ 26); (f) a ban

on civic groups providing food or water to persons waiting in long lines to vote (§

33); and (g) a prohibition on counting most out-of-precinct provisional ballots (§

34).

       The United States’ complaint alleges that these provisions were adopted

with the purpose of denying or abridging the right to vote on account of race or

color, in violation of Section 2 and the voting guarantees of the Fourteenth and

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Fifteenth Amendments to the United States Constitution. The complaint seeks

declaratory and injunctive relief, as well as relief pursuant to Sections 3(a) and 3(c)

of the Voting Rights Act, 52 U.S.C. § 10302(a) and (c).

         The United States’ action is one of several cases in this Court challenging

various provisions of SB 202. On July 12, 2021, the Court granted the Republican

National Committee, National Republican Senatorial Committee, and Georgia

Republican Party’s motion for permissive intervention as defendants in this case

under Rule 24(b), to which the United States consented. PILF filed its motion to

intervene here on July 2, 2021; it did not move to intervene in any of the related

cases.

II.      INTERVENTION OF RIGHT

         A.    Legal Standard

         Under Federal Rule of Civil Procedure 24(a)(2), intervention is available as

a matter of right if, by timely motion, the movant can show (1) an interest relating

to the property or transaction that is the subject of the action; (2) that it is so

situated that disposition of the action, as a practical matter, may impair or impede

its ability to protect that interest; and (3) that its interest is not adequately

represented by existing parties to the litigation. Fed. R. Civ. P. 24(a)(2); see also

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Athens Lumber Co. v. Fed. Election Comm’n, 690 F.2d 1364, 1366 (11th Cir.

1982). All of these criteria must be met before intervention of right is appropriate.

See Sierra Club, Inc. v. Leavitt, 488 F.3d 904, 910-11 (11th Cir. 2007) (denying

intervention because movant failed to establish that its interest was represented

inadequately by named defendant); Worlds v. Dep’t. of Health & Rehab. Servs.,

State of Fla., 929 F.2d 591, 595 (11th Cir. 1991) (declining to consider adequacy

of representation because movant failed to prove that his interests would be

impaired). 1

         To meet the first criterion, the movant must demonstrate an interest in the

litigation that is “direct, substantial [and] legally protectible.” Athens Lumber Co.,

690 F.3d at 1366. A generalized interest in the subject matter of the pending

litigation does not qualify as a protectable interest within the meaning of Rule

24(a). “In essence, the intervenor must be at least a real party in interest in the

transaction which is the subject of the proceeding.” Id. (concluding that labor

union’s interest in limiting direct campaign contributions by corporations was too

general to support intervention of right in case challenging campaign finance




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    The United States agrees that PILF’s motion to intervene is timely.
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restrictions).

       If it is able to demonstrate a sufficient interest in the litigation that may be

impaired or impeded, a prospective intervenor must further show that its interest is

not adequately represented by existing parties to the litigation. Where an already

participating party “seeks the same objectives as the would-be interveners,” a

presumption of adequacy of representation applies, and the moving party must

“com[e] forward with some evidence to the contrary.” Sierra Club, 488 F.3d at

910.

       B.        PILF Is Not Entitled to Intervention of Right

                 1.    PILF lacks a significantly protectable interest that may be
                       impaired or impeded by this litigation.

       None of PILF’s asserted interests is a “significantly protectable interest”

related to this litigation and sufficient to justify intervention of right. Athens

Lumber, 690 F.2d at 1366 (quoting Donaldson v. United States, 400 U.S. 517, 531

(1971)). PILF relies primarily on its interest in “preserving the constitutional

balance between a state’s power to control its own elections and Congress’s

legitimate constitutional authority to protect against racial discrimination through

the [Voting Rights Act].” PILF Br. at 7 (ECF No. 11-1); see also id. at 2-3. It

argues that “[p]reserving this balance serves to protect the interests and rights of

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citizens to participate equally and fully in our electoral processes.” PILF Br. at 3.

      These interests are the sort of generalized concerns that courts have held are

insufficient to support intervention under Rule 24(a). For example, in Common

Cause v. Lawson, the court rejected PILF’s motion to intervene in a case

challenging an Indiana voter registration statute under the National Voter

Registration Act. No. 1:17-cv-3936, 2018 WL 1070472 (S.D. Ind. Feb. 27, 2018).

There, the court concluded that PILF’s stated interests in “ensuring that the

constitutional balance vesting state control over elections is preserved and that the

democratic right to participate effectively and in state-prescribed elections is

ensured for all citizens in Indiana” were “too generalized to afford a right to

intervention under Rule 24(a)” because they mirrored the interests of every

registered voter in Indiana. Id. at *4-5.

      PILF asserts these same generalized interests here, and as in Common

Cause, they cannot justify intervention of right. Id. at *5. See also United States v.

Florida, 2012 WL 13034013, at *1 (broad interest in maintaining accurate voting

rolls to promote voter confidence in election integrity did not afford advocacy

group a right to intervene); Order Denying Intervention of True the Vote at 1,

Veasey v. Perry, No. 2:13-cv-00193, ECF No. 113 (S.D. Tex. Dec. 11, 2013)

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(applying same reasoning in case challenging Texas’s photo voter ID law under

Section 2 of the Voting Rights Act) (Exhibit 1), aff’d Veasey v. Perry, 577 F.

App’x 261.

      Similarly, PILF’s stated interests in “ensuring the enforcement of voter

qualification laws and election administration procedures,” PILF Br. at 2, are “so

generalized, [they] will not support a claim for intervention of right.” Athens

Lumber, 690 F.2d at 1366 (intervention denied because labor union’s “general

concern” about the flood of corporate expenditures that would result if campaign

finance restrictions were lifted was an interest “shared with all unions and all

citizens” with similar concerns). See also Smith v. Cobb Cty. Bd. of Elections and

Registration, 314 F. Supp. 2d 1274, 1312 (N.D. Ga. 2002) (denying intervention in

redistricting case where movants’ stated interest in achieving population equality

among electoral districts was “an interest of all Cobb County voters that [was] not

unique to the putative intervenors”); Dillard v. City of Foley, 926 F. Supp. 1053,

1062 (M.D. Ala. 1995) (denying intervention in Voting Rights Act case because

proposed intervenors’ interest in enforcement of Alabama annexation law was

“shared by all citizens and municipalities of Alabama concerned about the policies

and procedures of annexation”).

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             2.     Any protectable interest that PILF may have is adequately
                    represented by existing parties.

      Even if PILF had established a protectable interest that could be impaired by

disposition of this action, any such interest is already adequately represented in this

suit by State Defendants. The Eleventh Circuit “presume[s] adequate

representation when an existing party seeks the same objectives as the would-be

interveners.” Sierra Club, 488 F.3d at 910; see also Athens Lumber, 690 F.2d at

1366 (“Because both the union and the [Federal Election Commission] have the

same objective, we presume that the union’s interest is adequately represented.”).

“When, as here, that existing party is a government entity,” the moving party must

“‘make a strong showing of inadequate representation.’” Burke v. Ocwen Fin.

Corp., 833 F. App’x 288, 293 (11th Cir. 2020) (quoting FTC v. Johnson, 800 F.3d

448, 452 (8th Cir. 2015)). Even absent this presumption, to establish inadequate

representation, PILF would have to demonstrate either (1) collusion between the

United States and State Defendants, (2) adversity of interests between itself and

State Defendants, or (3) nonfeasance by State Defendants. Stone v. First Union

Corp., 371 F.3d 1305, 1311 (11th Cir. 2004). It has made no such showing.

      The presumption of adequate representation applies here. PILF’s ultimate

objective is to uphold SB 202, which it considers a “reasonable law[] designed to
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ensure the integrity of [Georgia’s] election.” PILF Br. at 3. State Defendants—

which include government entities responsible for the administration of elections,

represented by the State Attorney General, who is charged with defending the

State’s laws—have the same objective. Although State Defendants have not yet

filed a responsive pleading in this case, they have moved to dismiss all Section 2

claims in the related cases challenging SB 202, including claims alleging that the

statute was adopted with a discriminatory purpose. 2 Like PILF, the State

Defendants contend that SB 202 is a “reasonable, nondiscriminatory” election law

that is designed to ensure “a safe and secure election.” See, e.g., State Defs.’ Br. in

Support of Mot. to Dismiss Pls.’ First Am. Compl. at 1, Sixth Dist. AME Church v.

Raffensperger, 21-cv-1284, ECF No. 87-1 (June 7, 2021). Like the labor union

whose motion to intervene was denied in Athens Lumber, PILF and State



2
 See Defs.’ Mot. to Dismiss Compl., The Concerned Black Clergy of Metro.
Atlanta v. Raffensperger, 21-cv-1728, ECF No. 46 (July 12, 2021); State Defs.’
Mot. to Dismiss Pls.’ First Am. Compl., Ga. State Conf. of the NAACP v.
Raffensperger, 21-cv-1259, ECF No. 42 (June 11, 2021); State Defs.’ Mot. to
Dismiss Pls.’ First Am. Compl., Asian Americans Advancing Justice-Atlanta v.
Raffensperger, 21-cv-1333, ECF No. 41 (June 11, 2021); State Defs.’ Mot. to
Dismiss Pls.’ First Am. Compl., Sixth Dist. AME Church v. Raffensperger, 21-cv-
1284, ECF No. 87 (June 7, 2021); State Defs.’ Mot. to Dismiss Pls.’ First Am.
Compl., The New Ga. Project v. Raffensperger, 21-cv-1229, ECF No. 45 (June 1,
2021).
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Defendants “both have precisely the same objective”—to uphold the challenged

statute. Athens Lumber, 690 F.2d at 1367.

      PILF’s own statements reveal the extent to which its interests coincide with

the State Defendants’: PILF describes it mission as “providing assistance to states

that seek to exercise their constitutional powers to determine the rules and laws

pertaining to their own state elections.” PILF Br. at 2 (emphasis added). In a press

release, it explained that it moved to intervene in this case in order “to help

Georgia defend its legislation.” 3

       The party best situated to defend the validity of SB 202 is the State itself.

Indeed, “when a statute comes under attack, it is difficult to conceive of an entity

better situated to defend it than the government.” Stuart v. Huff, 706 F.3d 345, 351

(4th Cir. 2013). State Defendants have “a much more direct and substantial stake

in [this] dispute” over the validity of a state election law than a private advocacy

group such as PILF. United States v. Florida, 2012 WL 13034013, at *1 (denying

intervention under Rule 24(a) and (b) in similar circumstances); see also United




3
 Public Interest Legal Foundation Press Release, dated July 6, 2021, available at
https://publicinterestlegal.org/press/pilf-intervenes-to-protect-georgia-from-doj-
abuse-of-power/ (last visited July 13, 2021).
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States v. North Carolina, 2014 WL 494911, at *2-5 (same).

      PILF argues that because State Defendants are public officials, they will not

defend SB 202 as vigorously as PILF would, and they may decide to settle the

lawsuit. It also argues that State Defendants may feel “restrained” from asserting

certain defenses, which PILF seeks to advance, for fear of “hostile attacks.” PILF

Br. at 8. These speculative assertions are insufficient to establish that PILF’s

ultimate objective differs from that of State Defendants, or that State Defendants

will not adequately represent their interests. See Common Cause, 2018 WL

1070472, at *5-6 (rejecting similar arguments and concluding that PILF’s interests

were adequately represented by state officials).

      First, the Eleventh Circuit has frequently held that public officials and public

agencies charged with defending a law adequately represent the interests of other

entities with similar goals. See, e.g., Athens Lumber, 690 F.2d at 1366-67 (labor

union’s interest in upholding campaign finance restrictions adequately represented

by FEC); Sierra Club, 488 F.3d at 910-11 (state environmental agency’s interests

in upholding state’s “impaired waters list” adequately represented by EPA); cf.

Chiles v. Thornburgh, 865 F.2d 1197, 1215 (11th Cir. 1989) (homeowners

association’s interest adequately represented by county plaintiff); Cobb Cty. Bd. of

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Elections & Registration, 314 F. Supp. 2d at 1312-13 (plaintiff county school

board members adequately represented interests of proposed plaintiff-intervenors,

two county voters, in a redistricting case). While PILF “hypothesizes that

[defendants] might have an increased incentive to compromise . . . in settlement

discussions[,]” nothing in the record “casts doubt upon the will” of State

Defendants to defend the legality of SB 202. Sierra Club, 488 F.3d at 910. Nor is

there any evidence that State Defendants are more likely to settle. Id. To the

contrary, state officials have publicly pronounced their intention to vigorously

defend the statute. See, e.g., Tia Mitchell, et al., Justice Department Sues Georgia

over New Voting Law, ATLANTA JOURNAL CONSTITUTION (June 25, 2021),

https://www.ajc.com/politics/feds-sue-georgia-over-new-voting-

law/BWMKLI2XJNHIVPCUKJ2HXCDEFY/ (quoting Secretary Raffensperger,

Governor Kemp, and other State officials).

      Second, PILF’s desire to emphasize particular arguments in defense of SB

202, which it speculates State Defendants may not pursue, does not establish that

its interests are inadequately represented. As an initial matter, “there is no

evidence at this early stage of the litigation that the State Defendants will not

pursue [movant’s] chosen argument.” United States v. North Carolina, 2014 WL

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494911, at *3. And, in any event, “as courts and treatises have

explained, divergence of tactics and litigation strategy is not tantamount to

divergence over the ultimate objective of the suit.” Gumm v. Jacobs, 812 F. App’x

944, 947 (11th Cir. 2020) (citing cases, internal quotation marks omitted); see also

Stuart, 706 F.3d at 353 (“[T]he relevant and settled rule is that disagreement over

how to approach the conduct of the litigation is not enough to rebut the

presumption of adequacy.”). Nor can PILF establish nonfeasance by State

Defendants simply by disagreeing with their decisions about what legal arguments

to pursue. See Stuart, 706 F.3d at 354 (holding that State Attorney General’s

decision to focus arguments on a particular legal doctrine “was hardly

nonfeasance”). As the Fourth Circuit recently explained, allowing private entities

to intervene in these circumstances, “would greatly complicate the government’s

job[,]” compelling it “to modify its litigation strategy to suit the self-interested

motivations of those who seek party status, or else suffer the consequences of a

geometrically protracted, costly, and complicated litigation.” Id. at 351.

      Finally, PILF’s reliance on Trbovich v. United Mine Workers of Am., 404

U.S. 528 (1972), is misplaced. PILF Br. at 9. As the Eleventh Circuit explained in

Athens Lumber, the proposed intervenor in Trbovich “bore an especially close

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relationship to the case; he, in fact, had initiated the proceedings.” 690 F.2d at

1367. In addition, unlike PILF, he did not have the same ultimate objective as the

U.S. Secretary of Labor, who brought the lawsuit in which Mr. Trbovich sought to

intervene. Id. As in Athens Lumber, PILF has not demonstrated either a

particularly close relationship to this case, or that its ultimate objectives diverge

from State Defendants’. Accordingly, PILF “may not rely on Trbovich to defeat

the presumption that [State Defendants] adequately represent[]” its interests. Id.

       PILF has failed to demonstrate that it has any interest in this litigation that is

not adequately represented by State Defendants.

III.   PERMISSIVE INTERVENTION

       A.    Legal Standard

       A court may permit intervention pursuant to Federal Rule of Civil Procedure

24(b) when a movant shows, by timely motion, that its “claim or defense . . . shares

with the main action a common question of law or fact.” Fed. R. Civ. P. 24(b)(1).

Although permissive intervention is discretionary, a court “must consider whether

the intervention will unduly delay or prejudice the adjudication of the original

parties’ rights.” Fed. R. Civ. P. 24(b)(3). The court may deny permissive

intervention even if the required elements of Rule 24(b) are satisfied. Worlds, 929


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F.2d at 595.

      B.       The Court Should Not Grant Permissive Intervention

      PILF’s intentions with respect to this lawsuit will “consume additional and

unnecessary judicial resources” while “generat[ing] little, if any, corresponding

benefit to the existing parties.” United States v. North Carolina, 2014 WL 494911,

at *5. Moreover, any legitimate interest that PILF may have in this case can be

adequately asserted through amicus curiae participation, which the United States

does not oppose. See infra Part IV. Accordingly, the Court should deny PILF’s

request for permissive intervention.

      PILF’s own rights are not directly at stake in this matter, and the existing

defendants will adequately represent PILF’s stated interest in upholding the

validity of SB 202. Permitting PILF’s intervention to explore other issues would

only divert the attention of the Court and the parties from the real and important

issues in the case, needlessly complicating and delaying resolution of the litigation.

Courts have repeatedly denied permissive intervention in such situations. See

Athens Lumber, 690 F.2d at 1367 (affirming denial of permissive intervention

because proposed intervenors’ interests were “remote[]” and their inclusion as an

additional party would only delay proceedings); Chiles, 865 F.2d at 1215

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(affirming denial of permissive intervention because proposed intervenors were

unlikely to shed “any new light . . . on the issues to be adjudicated”); see also

Common Cause, 2018 WL 1070472, at *6 (denying PILF’s motion for permissive

intervention); Veasey v. Perry, supra, slip op. at 2 (denying permissive intervention

because movant’s “intended contribution to this case may be accomplished without

the necessity of, or burden incident to, making it a party”); United States v.

Florida, 2012 WL 13034013, at *2 (concluding that advocacy group’s

“perspective and expertise” could be provided through amicus participation and

that the groups’ individual voting rights were not at stake); United States v. North

Carolina, 2014 WL 494911, at *5 (same). 4



4
   PILF refers to a case in the District of Nevada in support of its motion. In Luna
v. Cegavske, No. 2:17-cv-2666, 2017 WL 6512182 (D. Nev. Dec. 20, 2017), the
magistrate judge granted PILF’s motion for permissive intervention in a lawsuit
challenging an effort to recall three Nevada state senators. The magistrate judge
rejected intervention as of right, finding that “it is questionable whether the
Foundation has a significant protectable interest” in the case, id. at *6. The U.S.
District Court subsequently adopted the Magistrate Judge’s report and
recommendation, noting that no objections had been filed to that report. See Luna
v. Cegavske, No. 2:17-cv-2666, 2018 WL 3731084 (D. Nev. Aug. 6, 2018); 2018
U.S. Dist. LEXIS 131557.
       The reasons provided for allowing permissive intervention in the Luna case,
however—to hear arguments that the defendants might not raise themselves—can
be easily addressed by allowing PILF to participate as amicus at appropriate
junctures in this case.
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      To the extent PILF seeks a platform to argue that Section 2 is

unconstitutional, this case, which asserts only an intentional discrimination claim,

is not an appropriate forum for the argument. PILF contends that by alleging that

SB 202 violates Section 2 because it was enacted with a discriminatory purpose,

the United States’ complaint “extends the reach of” Section 2 “beyond permissible

constitutional limits.” PILF Br. at 3; see also id. at 2, 8. In essence, PILF argues

that Section 2 would be unconstitutional if applied to prohibit the State from

intentionally denying or abridging the right to vote on account of race. See PILF

Br. at 8; PILF Proposed Answer at 44 (Affirmative Defense #1) (ECF No. 11-2).

      But intentional discrimination on the basis of race is precisely what the

Fourteenth and Fifteenth Amendments prohibit, and enacting a statute that

proscribes unconstitutional conduct is at the core of Congress’ authority under the

enforcement clauses of those Amendments. See, e.g., City of Mobile v. Bolden,

446 U.S. 55, 62-63, 66 (1980); Greater Birmingham Ministries v. Sec’y of State,

992 F.3d 1299, 1321 (11th Cir. 2021) (noting that Fourteenth and Fifteenth

Amendments prohibit intentional racial discrimination in voting).

      To prove its Section 2 intent claim, the United States must show the

functional equivalent of a constitutional violation. This is because the legal

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standard for proving an intent claim under Section 2 parallels the requirements for

proving intentional discrimination under the Constitution. See, e.g., Brnovich v.

Democratic Nat’l Comm., No. 19-1257, 2021 WL 2690267, at *9, 21 (July 1,

2021) (affirming district court’s Section 2 discriminatory purpose analysis, which

applied “the familiar approach outlined in Arlington Heights v. Metropolitan

Housing Development Corp., [429 U.S. 252 (1977)]”); Greater Birmingham

Ministries, 992 F.3d at 1321-22 (11th Cir. 2021) (same); Veasey v. Abbott, 830

F.3d 216, 229-30 (5th Cir. 2016) (en banc); N.C. Conf. of the NAACP v. McCrory,

831 F.3d 204, 220-21 (4th Cir. 2016). Thus, in effect, PILF’s argument is that

prohibiting intentional racial discrimination in voting exceeds Congress’ authority

under the enforcement clauses of the Fourteenth and Fifteenth Amendments. This

implausible theory is an unnecessary distraction from the real issues at stake in this

litigation. 5



5
   To the extent PILF intends to use this lawsuit as a vehicle for discovery in
furtherance of its baseless charge that the United States’ enforcement action is
motivated by the desire to help partisan candidates win elections, see PILF Answer
at 44 (Affirmative Defense #2), this too is an unnecessary distraction that will
needlessly expand and complicate discovery and delay timely resolution of the
case. Any concerns about the partisan impact of these legal challenges to SB 202
will be ably addressed by the Republican Party Intervenors, who have intervened
in these actions specifically to “protect[] [Republican] candidates, voters, and
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IV.   THE COURT NEED NOT EXCLUDE PILF FROM ALL
      PARTICIPATION

      Although PILF has not established the prerequisites to warrant intervention

of right, and permissive intervention is not appropriate, the Court has the discretion

to allow interested parties to file briefs as amicus curiae at appropriate points in the

proceedings. See Worlds, 929 F.2d at 595 n.20 (noting that when a proposed

intervenor “has other adequate means of asserting its rights,” denial of permissive

intervention was further justified); Angel Flight of Georgia, Inc. v. Angel Flight

America, Inc., 272 F. App’x 817, 820 (11th Cir. 2008) (noting that opportunity to

participate as amicus was an adequate alternative to intervention); Cobb Cty. Bd. of

Elections & Registration, 314 F. Supp. 2d at 1313 (denying motion to intervene

but allowing participation as amicus).

      Conversely, if the Court does grant the motion to intervene, the United

States respectfully requests that the Court impose express conditions on PILF’s




resources.” Mem. in Support of Intervention at 2, Ga. State Conf. of the NAACP v.
Raffensperger, 21-cv-01259, ECF No. 19-1 (Apr. 12, 2021). See United States v.
North Carolina, 2014 WL 494911, at *5 (concluding that advocacy group’s
interest in using litigation “as a vehicle to enhance its ability to collect records
from the parties” weighed against permissive intervention).
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participation in order to prevent it from delaying discovery and adjudication or

unnecessarily burdening the existing parties. District courts may impose any

reasonable condition on a party permitted to intervene. See Fed. R. Civ. P. 24,

Advisory Committee Note (1966) (“An intervention of right under the amended

rule may be subject to appropriate conditions or restrictions responsive among

other things to the requirements of efficient conduct of the proceedings.”).




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V.    CONCLUSION

      For the foregoing reasons, the Court should deny PILF’s Motion to

Intervene. The United States does not object to PILF being permitted to participate

as amicus curiae in this case.

Dated: July 16, 2021

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     CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(D)

      Pursuant to Local Rule 7.1(D), Counsel certifies that the foregoing

document was prepared in Times New Roman 14-point font in compliance with

Local Rule 5.1(C).

                                               /s/ Elizabeth M. Ryan

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                              CERTIFICATE OF SERVICE

      By signature below, counsel certifies that this pleading was electronically

filed on July 16, 2021 using the CM/ECF system, which will automatically send

email notification of such filing to all attorneys of record.

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